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COMMONWEALTH OF MASSACHUSE'!'I`S

NORFOLK, SS Snperior Court Division
Civil Action No:

 

JOHN F. BOWLEN,
PERSONAL REPRESENTATIVE OF
THE ESTATE OF WlLLlAM EDWARD BOWLEN

Plaintiff,
v.

CARE ONE, LLC,

HEALTHBRIDGE MANAGEME'NT, LLC,

dib/a WEYMOUTH HEALTH CARE CENTER,

JANE ROE NURSES AND JOHN DOE PHYSICIANS
Dofendants.

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him
l.. The Plaintid` John F. Bowlcn, Personal chmcntative of the Estate of William

mm Bewlen (hereinmer “Bewlen"), is a Mwechueem resident with a residenee at 53 Tabe¢
St., Quincy, Massachusetts 02169. '

2. The Defcndant Carc Onr., LLC (hexeinafter “Caxe Onc”) is a foreign corporation
dealing in senior care management, registered to do business in Massa¢husetts, with its principal
o$oe locawd lt 173 Bridge Plaza Nor\‘h, Fort Loe, New Jetsey 07024.

3. At all time hereinaiiu' mentioned, Defendant Cane Onc, LLC owned and
operated the premises known as Weymouth Health Care Cemer (hereinatier “Weymouth”)
locatod at 64 Porformanoe Drive, Weymouth, Massachusetis 02189.

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4. The Defendant Healthbridge Management, LLC, (hereinafter “Healthbridge") is a_
foreign corporation dealing in management, registered to do business in Massachusetts, with its
- principal omce located at 173 Bridge Plazs North, Fort Lee, New Jersey 07024.

5. At all times hereinafter mentioned, Defendant Healthbridge Management, LLC
leased,maimnined, operated, managedand/orcontrolledthepremises, and certainequipmentand
facilities known as Weymouth Health Care Center (hereinaf!er “Weymoudx”), located at 64
Performanee Drive, Weymouth, Massachusetts 02189. v

6. 'I'he Defendant John Doe Physicians, were physicians licensed to practice
medicine or provide healda care services in the Commonwealth of Msssachusetts, and were
persons employed by, or under contract with, Healthbn`dge Management, LLC at Weymouth
Health Care Center, with a business address of 64 Performanee Drive, Weymouth,
Massachusetts. Physicians’ identities are not presently known by Plaintiff and are thus
fictitioust designated

7. The Defendant lane Roe Nurses, were licensed to provide health care services in
the Commonwealth of Massachusetts, and were employed by, or under contract with,
Heald:bridge Management, LLC at Weymouth Health Care Center, with a business address of 64
Performanee D!ive, Weymouth, Massachusetts. Nmses’ identities are not presently known by
Plaintiff and are thus fictitioust desigrated.

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8. This is a claim for negligence under Massachusetts common law and wrongful

death under Mass. Gen. Laws, ch. 229.

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9. 'I'his Court has subject matter jurisdiction over this action pursuant to Mass. Gen.

Laws. ch.212, § 3 inthatthe caseisacivil actionformoneydamagesandthere isnoreasonable
likelihoodthatrecove_rybythe Plaintid`wi~ll belessthanorequalto Twemy-Five'l`housand and
00/1003($2$,000.00) Dollars.

10. 'I'his Comt has personal jurisdiction over Defendant Weymouth because Defendant
Weymouthmaintained its principal place ofbusiness in Massachusetts at the time ofthc conduct
atissueandcommittedthetortious actsatissueinMassachusetts.

ll. 'I'his Courthaspersonaljm'isdietion over Defendant Care One because Defendant
Care One regularly conducted business in Massachusetts at the time ofthe conduct at issue and
committed the tortious acts at issue in Massachusetts.

12. 'I'his Cour_t has personal jurisdiction over Defendant Healthbridge because
nefendahr Healthbridge regulaay eendueted business in Mwehueecs ar the time efwe miner
atissueandcommittedthetortious acts at issueinMassachusetts.

13. This Court has personal jurisdiction over Defendants John Doe Physicians and lane
RoeNm'sesbecauset.heyresidedinMassachusettsatthe_timeoftheconductatissueand
eemrsineddrewrseusaesnissuemmaseeehueeue.

14. 'I'his Courtisthe propervenucforthis actionpursuanttoMass. Gen. Laws. ch
223, § 1 inthatall conductatissueandtortiousaetscommittedby Defendants occurredin
Weymouth, Massachusetts, which is located in Norfolk County; additiomlly, the Defendant
Weymouth has a principal place of business in Norfolk County.

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15. Defendant Weymouth conducted business as a nursing home. Defendant Care One
and Healthbridge conducted business as management companies in the health care industry.

16. Defendantsheldthemselves out ashavingtheexpertisenecessarytomaintainthe
healthandsafety ofpersons unableto'care adequately forthemsclves,andas specialistsinthe
treatment and management of conditions at a more intensive level man most skilled nursing
companies

17. Mr. Bowlen was under the exclusive care, custody, control, treatment and
management of Defendants during his admission at Weymouth.

18. WilliamBowlen, nowdeceased, entercheymouth Health Care Centerator about
l:l$ p.m. on February 8, 2012 bccausehisfamily could no longer care forhim athome.

19. From his admission or or shoot ier pio, on Februory s, 2012 wrongs
approximately 10:30 p.m, on February 8, 2012, Mr. Bowlen received continuous and ongoing
nursing care and medical treatment from the Defendants.

20. At the time of his admission to Weymouth, Mr. Bowlen was suffering ii'om terminal
lung cancer.

21. Ai the time of his admission to weymouih, ii was noted in Mr. aowieo's Piso of
Care.thathepreferredtostayup sittinginachairwithheadsupportduetoincreasedamdety,
shortness of breath and pain when lying supine.

22. Nursing notes on February 8, 2012 at 3:15 p.m. indicated that Mr. Bowlen was
siningupma¢ed-chahwithhisfomheadonapaddedmble;andthat,perfamily,thisishis
“ben/preferred position.”

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al OORP°MTI m - P-°. I°K m - PORT.MWT”¢ N.H. mw

 

 

 

 

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23. 'l'he nursing notes at 3:15 p.m. also indicate that Mr. Bowlen was transferred with
aHoyerlitt; aud, that allattempts atpositionchangesinbedresultodinincreasedshonness of

20. From 3:15 p.m. to 5:00 p.m. on February 8, 2012, Mr. Bowlen was noted to be
sitting comfortably in a Ger'i-chair. v d

21. At 6:00 p.m. Mr. Bowlen was transferred from the Geri-chair to bed for

22. Between 6_:00 p.m. and 10:00 p.m., Mr. Bowlen remained in bed. He was noted to
be comfortable

23. At 10:15 p.m. Mr. Bowlen’s sister called Weymouth for an update on Mr. Bowlen’s
status andupmbeinginfomedthathewaswmforwbleinbe¢askedwhavehimumsferredw
the Geri-chair for the night as that was the position used at home for his comfort.

24. At 10:20 p.m. Mr. Bowlen’s was found in his room not breathing

25. At 10:30 p.m. Mr. Bowlen was pronounced dead.

giving

(Common Law Negligence)
Alleged Agslnst All Defendants

26. The Plaimifl` re-alleges and incorporates paragraphs 1-25 of the Declsration.

27. `Defendants owed a duty to patients of its facilities, including Mr. Bowlen, to
provide medical care and treatment in accordance with the applicable standards ofcare.

28. The Defendants exercising control over the management and care of Mr. Bowlen

failed to comply with the reasonable care-provider standard

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29. 'I'he Defendants, their agents, on'icers, servants employees, and assigns failed.
refused, and/or neglected to perform their duty to provide reasonable and adequate healthcare to
Mr.aowien,wbowssimobleionmodiobisowobeoimmdssreiy.

30; 'I'he Defendants, their agents, oliicers, servants, employees, and assigns knew or
should have known of the dangers of putting Mr. Bowlen in a supine position given the Plan of
cnepiepnedstdieiime ofbis admission die airedsuempuousnsfeibir. Bowleoio bed ooibe`
aiternoon ofhi`s admission; andhis family’s instructions

31. 'I'he Defendants failed to assess, prevent and treat Mr. Bowlen competently while
he was under their care.

32. As a direct and proximate result of the Defendants’ negligence including their
fail\n'e to properly assess and treat Mr.` Bowlen, he sustained and suffered significant damages,
including but not limited to conscious suB`ering and death.

The Plaintift' requests a jury trial on all issues so triable

Cg_qg 11
(Wronghrl Death)
Alleged Against All Defendants

33. 'I'he Plaintilfre-alleges and incorporates paragraphs 1-32 of the Complaint.

34. As a direct and proximate result of Defendants’ aforesaid eonduct, Mr. Bowlen
sustainedseriousinjuries,resultingindeath,mdsuB`eredgreatmentalandphysicalpainasa
consequence of the injm'ies he sustained when the Defendants failed to, inter alia, maintain Mr.
Bowlen in a sitting position in a Geri-chair, and properly monitor and assess his condition upon

ti'ansf¢rtobed.

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35. Mass. Gen. Laws. Ch. 229permiuadministratorsofestates, suchasPlaintifl'inthis
case,tosueforthewmngtirldeathofthedecedent. Mass.Gen. Laws. Ch 229permitsdre
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(l)the fairmonetary value ofthedecedentto thepersons entitledto receivethe

damages recovered, as provided in section one, including but not limited to

compensation for the loss of the reasonably expected net income, services,
protection, care, 'assistance, society, companionship, comfort, guidance, co\msel,
andadvice ofthe decedenttothepersonsentitledtothedamagesrewvered; (2)the
reasonablefuoeral andburial expenses ofthedecedent; (3)punin`vedamages inan
amormtofnotlessthanfrvethousanddollarsinsuchcaseasthedecedent'sdeath

was causedby the malicious, willful, wanton or reckless conduct oftlre defendant

or by the gross negligence of the defendant....

36. Defendants’ aforesaid conduct wrongfqu caused Mr. Bowlen’s death.

37. But for the injuries he sustained that caused his premature death, Mr. Bowlen was
expected to live beyond February 8, 2012.

38. As a direct and proximate result oer. Bowlcn's wrongful death cauwd by
Defendants, the PlaintiE, Personal Representative of the Estate of William Bdward Bowlen,
incurred ftmeral and other reasonable expenses caused by the fatal injuries suffered by Mr. Bowlen.

39. Defendants’ aforesaid conduct wrongfully caused Mr. Bowlen’s loss of enjoyment
of life for the remainder of his expected life, separate and distinct from economic loss and
conscious pain and suii`ering. `

40. Mr. Bowlen lost a compensable enjoyment of life due to the direct and proximate
result of Defendants’ aforenid negligent conduct

41. Based on the foregoing facts, Defendants are liable to PlairrtiB'for substantial and
considerable damages

The Plaintifl` requests a jury trial orr all issues so triable.

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(Gross Negligence)
Alleged A¢ainst All Defendants

42. 'I'he PlaintiB`re-allcges and incorporates paragraphs 1-41 of the Complaint.

43. The Defendants owed 'a duty of reasonable care cf the average, competent
healthcare provider to patients of their facilities.

44. TheDefcndants,asprovidersofhealthcaretopatients,demomnatedgreat
negligenceandfailedtouseanydiligence astotheduty ofcareowedtoMr. Bowlen.

45. The Defendants knew or should have known that their failure, and the failure of
their agents, servants, employees and assigns, to maintain Mr. Bowlen in a sitting position in a
Geri-chair despite a previous failed attempt to transfer him to bed without incident, and instructions
from his family that tire best position for Mr. Bowlen was seated, was rmreasonable, careless and
s¢wly negligent

46. 'I'he Defendants, their agents, servants, employees and assigns breached their duty
of care by failing to properly position Mr. Bowlen to prevent anxiety, shortness of breath, and
respiratory distress; by failing to properly assess Mr. Bowlen’s condition; and to provide
competent healthcare to Mr. Bowlen.

47. As a direct, proximate and foreseeable cause of the Defendants’ breach of duty of

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premature death.
48. Mr. Bowlen’s death was_due to andproxirnately caused and contributed to by the
carelessness recklessness, gross negligence and willful misconduct of the Defendants, its agents,
servants and employees, and without any negligence on the part of the Plaintiii`or' the Plainti&"s
decedent contributing thereto.

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' The Plaintif[ requests a jury trial on all issues so triable
§9£*_1_\’
(Negligent lofliction of Emotional Dlstress)
Alle¢ed Against All Defendants

49. The Pla.intiii` re-alleges and incorporates paragraphs 1-48 of the Complaint.

50. As a direct and proximate result of Defendants’ aforesaid negligent conduct, Mr.
Bowlen suifered serious mental and emotional harm, manifested by an exacerbation of his physical
symptoms

51. Dofonaoms know or reasonably should hsv`o known that their negligent oooduo¢,
and other conduct that fell below applicable standards of care would foreseeably cause Mr. Bowlen
serious mental and emotional harm.

52. Based on the foregoing facts, Defendants are liable to tire Plaintilf for substantial
and considerable damages.

The Plaintifl' requests a jury trial on all issues so triable
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53. 'Ihe Plaintiifre-alleges and incorporates paragraphs 1~52 of the Complaint.

54. As a direct and proximate result of Defendant’s aforesaid conduct, Mr. Bowlen
sustained serious injuries, suffered great pain and death as a consequence ofthe injuries he
sustained when the Defendants failed to, inter alia, properly maintain Mr. Bowlen in a sitting
position in a eri-chair; follow the Plan of Care prepared for Mr. Bowlen upon his admission to
Weyrnouth and follow the family’s advice and instruction that the best position for Mr. Bowlen
' was seated.

55. Based on the foregoing facts, Defendants are liable to the PlaintiB` for substantial

and considerable damages within the jurisdictional limits of this Corn't.
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WHEREFORE, the Plaintid', John F. Bowlen, Prlys that this Honorable Co\n't:

A. Grant the Plainti&’s Complaint;

B. Issue judgment against the Defendants for Plaintiif' s damages, including
interest and attorney’s fees and costs incm'red within the jurisdictional limits of this
Court; and

C. Issue such other Orders as justice requires.

RBSPEC'I'FULLY SUBMI'ITED,

For the Plaintiff John F. Bowlen,
Personal Representative of

the Estate of William Edward Bowlen,
By his attomeys,

SHAINBS & MCEACHERN, PA.

   

January 29, 2015

    

D el C. F 'co, Esq.
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